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 9   Attorneys for Defendants CLOUD IMPERIUM GAMES CORP.
10   and ROBERTS SPACE INDUSTRIES CORP.
11                            UNITED STATES DISTRICT COURT
12                           CENTRAL DISTRICT OF CALIFORNIA
13
     CRYTEK GMBH,                            )   Case No. 2:17-CV-08937
14                                           )
                                             )
15              Plaintiff,                   )   [HON. DOLLY M. GEE]
          vs.                                )
16                                           )
                                             )   DECLARATION OF JEREMY S.
17   CLOUD IMPERIUM GAMES CORP. and          )   GOLDMAN IN SUPPORT OF
     ROBERTS SPACE INDUSTRIES CORP.,         )   DEFENDANTS’ MOTION FOR A
18                                           )
                                             )   BOND PURSUANT TO CAL. CIV.
19              Defendants.                  )   P. CODE § 1030
                                             )
20                                           )
                                             )   Date:      April 26, 2019
21                                           )   Time:      9:30 AM
                                             )   Courtroom: 8C
22                                           )
                                             )
23   _____________________________________
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 1         I, JEREMY S. GOLDMAN, declare as follows:
 2         1.     I am an attorney licensed to practice law in the State of California, and a
 3   partner at the law firm Frankfurt Kurnit Klein & Selz P.C., counsel of record for Cloud
 4   Imperium Games Corp. (“CIG”) and Roberts Space Industries Corp. (“RSI”) (together,
 5   “Defendants”), the defendants in the above-captioned lawsuit.
 6         2.     I make this declaration on the basis of personal knowledge, except where
 7   indicated otherwise.
 8                                    Amazon’s Lumberyard
 9         3.     Attached hereto as Exhibit 1 is a true and correct copy of a February 9, 2016
10   article entitled “Amazon launches new, free, high-quality game engine: Lumberyard,”
11   which my paralegal obtained under my supervision from
12   http://gamasutra.com/view/news/265425/Amazon_launches_new_free_%highquality_ga
13   me_engine_Lumberyard.php.
14        Crytek’s Withdrawal of the Offending Allegations in the Initial Complaint
15         4.     On December 12, 2017, Crytek filed its initial complaint in this action [ECF
16   1] (the “Initial Complaint”).
17         5.     Among other deficiencies with the Initial Complaint, paragraph 15 of the
18   Initial Complaint included the false and improper allegation that Ortwin Freyermuth, an
19   attorney who co-founded CIG and RSI, had negotiated the GLA on behalf of Defendants
20   and against Crytek without resolving a conflict of interest with Crytek. See Initial
21   Compl. [ECF 1] ¶ 15, lines 25-28 (“Notwithstanding that he had confidential information
22   about Crytek’s licensing practices that would unfairly advantage Defendants, Freyermuth
23   never recused himself from those negotiations and never resolved that conflict of interest
24   with Crytek.”) (the “Offending Allegation”).
25         6.     Upon learning of the filing of the Initial Complaint, on December 14, 2017,
26   our law firm notified Crytek’s counsel of the falsity of the Offending Allegation. We
27   pointed out that, contrary to the statement contained in the Offending Allegation, Mr.
28   Freyermuth’s law firm had obtained a written conflict waiver signed by Crytek prior to
     ___________________________________________________________________________________
     DECL. OF JEREMY S. GOLDMAN ISO DEFS.’ MOT. FOR A BOND PURSUANT TO CCP § 1030
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 1   negotiating the GLA on behalf of CIG. Notwithstanding the existence of the written
 2   conflict waiver, a copy of which we provided to Crytek’s counsel on December 15, 2017,
 3   Crytek initially refused to withdraw the Offending Allegation from the Initial Complaint.
 4         7.     On December 28, 2017, I told Crytek attorneys Kurt Wm. Hemr and Kevin
 5   J. Minnick that our firm intended to serve upon Crytek a motion, pursuant to Rule 11 of
 6   the Federal Rules of Civil Procedure, based upon Crytek’s improper inclusion of, and
 7   refusal to withdraw, the Offending Allegation.
 8         8.     On January 2, 2018, Crytek filed its First Amended Complaint (the “FAC”)
 9   [ECF 18]. With respect to the Offending Allegation, Crytek omitted from the FAC the
10   false statement alleging that Mr. Freyermuth had negotiated the GLA on behalf of CIG
11   without resolving a conflict interest.
12                                 Crytek’s Financial Condition
13         9.     In preparing this motion, I researched publicly-available sources regarding
14   Crytek’s financial condition. Attached hereto as Exhibits 2 though 18 are true and
15   correct copies of those sources, each of which I introduce below.
16         10.    Attached hereto as Exhibit 2 is a true and correct copy of a June 23, 2014
17   article entitled “Crysis developer Crytek denies ‘verge of bankruptcy’ claim,” which my
18   paralegal obtained under my supervision from https://www.eurogamer.net/articles/2014-
19   06-23-crysis-developer-crytek-claims-bankrupt-report-is-false.
20         11.    Attached hereto as Exhibit 3 is a true and correct copy of an August 8, 2014
21   article entitled “‘The transformation was painful. We paid the price,’” which my
22   paralegal obtained under my supervision from https://www.eurogamer.net/articles/2014-
23   08-08-the-transformation-was-painful-we-paid-the-price.
24         12.    Attached hereto as Exhibit 4 is a true and correct copy of a June 24, 2014
25   article entitled “Crytek UK exodus sparks concern over Homefront: The Revolution,”
26   which my paralegal obtained under my supervision from
27   https://www.eurogamer.net/articles/2014-06-24-crytek-uk-exodus-sparks-concern-over-
28   homefront-the-revolution.
     ___________________________________________________________________________________
     DECL. OF JEREMY S. GOLDMAN ISO DEFS.’ MOT. FOR A BOND PURSUANT TO CCP § 1030
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 1         13.    Attached hereto as Exhibit 5 is a true and correct copy of a July 30, 2014
 2   article entitled “Sources: Crytek USA’s Leadership Quit Last Week,” which my
 3   paralegal obtained under my supervision from https://kotaku.com/sources-crytek-usas-
 4   leadership-quit-last-week-1613456108.
 5         14.    Attached hereto as Exhibit 6 is a true and correct copy of a July 30, 2014
 6   article entitled “Deep Silver Buys Homefront From Crytek,” which my paralegal obtained
 7   under my supervision from https://kotaku.com/deep-silver-buys-homefront-1613349084.
 8         15.    Attached hereto as Exhibit 7 is a true and correct copy of Crytek’s annual
 9   financial statements for the January 1, 2014 through December 31, 2014 financial year, in
10   the German language, filed with the German government on March 30, 2016, which my
11   paralegal obtained under my supervision from
12   https://www.bundesanzeiger.de/ebanzwww/wexsservlet by searching for “Crytek.”
13         16.    Attached hereto as Exhibit 8 is a true and correct copy of an English-
14   language translation of Crytek’s 2014 financial report. My paralegal, under my
15   supervision, obtained each of the English-language versions of Crytek’s financial reports
16   attached hereto as Exhibits 8, 10, and 12 by using the “Google Translate” feature on his
17   Google Chrome web browser, which translated the text into English, then he created a
18   PDF of the English-language output to create each of the documents attached as Exhibits
19   8, 10, and 12.
20         17.    Attached hereto as Exhibit 9 is a true and correct copy of Crytek’s corrected
21   annual financial statements for the January 1, 2015 through December 31, 2015 financial
22   year, filed with the German government on June 19, 2017, which my paralegal obtained
23   under my supervision from https://www.bundesanzeiger.de/ebanzwww/wexsservlet by
24   searching for “Crytek.” Attached hereto as Exhibit 10 is a true and correct copy of the
25   English-language translation of Crytek’s 2015 financial report.
26         18.    Attached hereto as Exhibit 11 is a true and correct copy of Crytek’s annual
27   financial statements for the January 1, 2016 through December 31, 2016 financial year,
28   filed with the German government on April 23, 2018, which my paralegal obtained under
     ___________________________________________________________________________________
     DECL. OF JEREMY S. GOLDMAN ISO DEFS.’ MOT. FOR A BOND PURSUANT TO CCP § 1030
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 1   my supervision from https://www.bundesanzeiger.de/ebanzwww/wexsservlet by
 2   searching for “Crytek.” Attached hereto as Exhibit 12 is a true and correct copy of the
 3   English-language translation of Crytek’s 2016 financial report.
 4         19.   Attached hereto as Exhibit 13 is a true and correct copy of a December 10,
 5   2016 article entitled “Crytek employees say they’re not being paid, again,” which my
 6   paralegal obtained under my supervision from
 7   https://www.polygon.com/2016/12/10/13908156/crytek-employees-not-paid.
 8         20.   Attached hereto as Exhibit 14 is a true and correct copy of a December 20,
 9   2016 article entitled “Crytek closing five studios, will refocus on ‘premium IPs’ and
10   CryEngine,” which my paralegal obtained under my supervision from
11   https://www.polygon.com/2016/12/20/14023746/crytek-studios-shutdown.
12         21.   Attached hereto as Exhibit 15 is a true and correct copy of a March 7, 2017
13   article entitled “Crytek sells off Black Sea studio to Sega, Total War creators,” which my
14   paralegal obtained under my supervision from
15   https://www.polygon.com/2017/3/7/14844758/crytek-black-sea-studio-now-creative-
16   assembly-sofia-total-war-sega.
17         22.   Attached hereto as Exhibit 16 is a true and correct copy of a press release
18   issued by Crytek on February 28, 2018, entitled “Crytek Announces New Leadership
19   Appointment,” which my paralegal obtained under my supervision from
20   https://press.crytek.com/crytek-announces-new-leadership-appointment.
21         23.   Attached hereto as Exhibit 17 is a true and correct copy of a May 29, 2018
22   article entitled “Hunt Showdown Losing Its Player Base, Is The Game Dying Already?,”
23   which my paralegal obtained under my supervision from
24   https://segmentnext.com/2018/05/29/hunt-showdown-losing-its-player-base-is-the-game-
25   dying-already/.
26         24.   Attached hereto as Exhibit 18 is a true and correct copy of a press release
27   issued by Crytek on February 6, 2019, entitled “We would like to thank all of our
28   Warface players and fans for so many years of support[,]” which my paralegal obtained
     ___________________________________________________________________________________
     DECL. OF JEREMY S. GOLDMAN ISO DEFS.’ MOT. FOR A BOND PURSUANT TO CCP § 1030
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 1   under my supervision from https://press.crytek.com/we-would-like-to-thank-all-of-our-
 2   warface-players-and-fans-for-so-many-years-of-support.
 3               Crytek’s Mentions of CIG, RSI, and Star Citizen on Social Media
 4         25.       From May 21, 2013 until January 22, 2015, Crytek’s various social media
 5   accounts featured or mentioned either CIG, RSI, or Star Citizen at least nine times. For
 6   example, attached hereto as Exhibits 19 through 27 are true and correct copies of posts
 7   that Crytek made on the CryEngine Twitter account, which my paralegal obtained under
 8   my supervision from https://twitter.com/cryengine and which mention either CIG, RSI, or
 9   Star Citizen.
10                     Crytek’s Public Release of the CryEngine Source Code
11         26.       Attached hereto as Exhibit 28 is a true and correct copy of a press release
12   issued by Crytek on August 17, 2011, entitled “Crytek releases CryEngine®3 SDK free-
13   of-charge,” which my paralegal obtained under my supervision from
14   https://www.crytek.com/news/crytek-releases-cryengine-3-sdk-free-of-charge.
15         27.       Attached hereto as Exhibit 29 is a true and correct copy of a press release
16   issued by Crytek on March 17, 2016, entitled “Introducing CRYENGINE V: A letter to
17   our community,” which my paralegal obtained under my supervision from
18   https://www.cryengine.com/news/introducing-cryengine-v-a-letter-to-our-community.
19         28.       Attached hereto as Exhibit 30 is a true and correct copy of a conversation
20   that took place on September 8, 2016 in a community forum hosted on Crytek’s
21   CryEngine website, which my paralegal obtained under my supervision from
22   https://www.cryengine.com/community_archive/viewtopic.php?f=355&t=134893.
23                                     Litigation Fees and Costs
24         29.       Attached hereto as Exhibit 31 is a true and correct copy of Crytek’s First Set
25   of Requests for Production and Inspection of Documents and Things to Defendants,
26   served on January 19, 2018.
27         30.       Attached hereto as Exhibit 32 is a true and correct copy of Crytek’s Initial
28   Disclosures, served on January 19, 2018.
     ___________________________________________________________________________________
     DECL. OF JEREMY S. GOLDMAN ISO DEFS.’ MOT. FOR A BOND PURSUANT TO CCP § 1030
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 1         31.    Attached hereto as Exhibit 33 is a true and correct copy of an excerpt from
 2   the transcript of an April 17, 2018 hearing before Magistrate Judge Frederick F. Mumm
 3   on CIG’s motion for a protective order controlling the timing and scope of discovery.
 4         32.    Attached hereto as Exhibit 34 is a true and correct copy of an Order
 5   granting a motion for sanctions and denying recovery of attorneys’ fees in the case
 6   Zenimax Media Inc. v. Oculus VR LLC, No. 14 Civ. 1849, at 21 (N.D. Tex. June 27,
 7   2018), which I downloaded from PACER [ECF 1118].
 8         Fees to Date
 9         33.    To date, CIG has incurred $387,528.45 in attorney’s fees in this case. While
10   this case only recently moved past the pleading stage, we have already performed a
11   significant amount of work in this case, including:
12                a.    conducting a substantial fact investigation;
13                b.    preparing a Rule 11 motion regarding the Offending Allegations
14                      (mooted by Crytek’s 11th-hour filing of its First Amended
15                      Complaint);
16                c.    preparing and filing a motion to dismiss the First Amended Complaint
17                      in its entirety;
18                d.    preparing and filing a motion to dismiss the Second Amended
19                      Complaint in part;
20                e.    preparing objections to Crytek’s prematurely-propounded and
21                      voluminous discovery requests;
22                f.    preparing and serving initial disclosures;
23                g.    conducting a Rule 26(f) meeting and preparing, conferring with
24                      opposing counsel regarding, and filing a joint 26(f) report;
25                h.    preparing, filing and arguing a motion for a protective order
26                      controlling the timing and scope of discovery;
27                i.    preparing and filing the Answer to Crytek’s Second Amended
28                      Complaint;
     ___________________________________________________________________________________
     DECL. OF JEREMY S. GOLDMAN ISO DEFS.’ MOT. FOR A BOND PURSUANT TO CCP § 1030
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 1                j.     preparing Defendants’ first set of discovery requests to be served
 2                       when appropriate;
 3                k.     researching and interviewing multiple potential confidential
 4   consultants who may become declared expert witnesses at the appropriate time; and
 5                l.     preparing the instant motion for a bond pursuant to California Code of
 6                       Civil Procedure § 1030.
 7         Estimated Future Fees and Expenses
 8         34.    It is notoriously difficult to estimate legal fees and expenses in a litigation.
 9   However, based on our experience, the nature and complexity of the claims at issue, the
10   amount in controversy, the conduct of our adversary and its counsel, and the phases of
11   the case that remain to be litigated, we predict that our clients’ legal fees and expenses
12   from the date of this filing through the conclusion of trial could easily reach
13   $1,592,937.50.
14         35.    Attached hereto as Exhibit 35 is a Report of Anticipated Fees and Expenses
15   that I prepared, which sets forth the basis for this calculation. The report provides low
16   and high estimates of the number of hours we anticipate each of Defendants’ attorneys of
17   record in this case to bill for each remaining phase of this litigation. The hourly rate
18   listed for each attorney has been approved by Defendants’ insurance carrier.
19         36.    We estimate that Defendants’ litigation expenses from the date of this filing
20   through the conclusion of trial could easily reach $212,832.50. Exhibit 35 provides low
21   and high cost estimates for each expense that we reasonably anticipate at this time. The
22   Report also indicates the expense estimates that are based on price quotes we received
23   from third-party litigation vendors, true and correct copies of which are attached hereto as
24   Exhibits 36 and 37.
25         37.    Based on the foregoing, we request that the Court enter an order pursuant to
26   Cal. Civ. P. Code. § 1030 requiring Crytek to post a bond in the amount of $2,193,298.45
27   to secure the award of attorney’s fees, costs and expenses that Defendants likely will
28   obtain as the prevailing parties at the conclusion of this action.
     ___________________________________________________________________________________
     DECL. OF JEREMY S. GOLDMAN ISO DEFS.’ MOT. FOR A BOND PURSUANT TO CCP § 1030
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